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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                             Case No. CR06-5506RBL
                                Plaintiff,
 7                                                      ORDER RE: ALLEGATIONS OF
                         v.                             VIOLATION OF CONDITIONS OF
 8                                                      SUPERVISION
        JUSTIN N EMERSON,
 9                              Defendants.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision under bond.
13              The plaintiff appears through Assistant United States Attorney, Kent Liu.
14              The defendant appears personally and represented by counsel, Lee Covell.
15          The U.S. Pretrial Services Office has filed a petition alleging violations of the terms and
16   conditions of supervision by: 1) failing to obtain an evaluation for substance abuse as directed on
     September 28, 2006: 2) failing to report for a urinalysis on October 6 and 10, 2006; and 3) failing to
17   report as directed on October 11, 2006. The defendant has been advised of the allegations. The
     defendant has been advised of his right to a hearing and the maximum consequences if found to have
18   been in violation. The defendant freely and voluntarily admitted the alleged violations # 2 & #3. The
     Court has dismissed violation #1.
19         NOW THEREFORE, the Court finds the defendant has violated the conditions of his Pretrial
20   Supervision while on release under bond, and orders that the defendant’s bond be revoked and the
     defendant be detained, to be delivered as ordered by the Court for further proceedings.
21           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
22   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
23                                                       November 9, 2006.
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25                                                       __s/ Karen L. Strombom________________
                                                         Karen L. Strombom, U.S. Magistrate Judge
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     ORDER
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